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EXHIBIT B

{200.000-W0031590.}
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DRAFT

[FPL Energy Pecos Wind I, LP Letterhead]

Luminant Energy Company LLC
500 N. Akard Street
Dallas, Texas 75201]

Re: Written Notice of Termination

Ladies and Gentlemen:

FPL Energy Pecos Wind I, LP (“FPL”) and Luminant Energy Company LLC (“Luminant”) are
parties to that certain Renewable Energy Credits Purchase Agreement (the “Agreement” dated
June 29, 2000, as amended.

FPL hereby provides notice to Luminant of FPL’s election to terminate the Agreement pursuant
to Section 6.01 of the Agreement based on the bankruptcy filing of Luminant on April 29, 2014,
in the Bankruptcy Court for the District of Delaware (Case No. 14-11023).

This notice is being sent in compliance with (i) Section 10.04(a)(iv) of the Agreement and

(ii) the Order Granting Motion of FPL Energy Pecos Wind I, LLP, FPL Energy Pecos Wind II,
LP, and NWP Indian Mesa Wind Farm, L.P. for a Determination that the Automatic Stay Does
Not Prevent Termination of Power Purchase Agreement, Jn re EFH Energy Future Holdings
Corp., et al., Case No. 14-10979 (Bankr. D. Del., , 2014), Docket No. [ ].

Sincerely,

ce.

{200.000-W0031590.}
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DRAFT

[FPL Energy Pecos Wind II, LP Letterhead]

Luminant Energy Company LLC
500 N. Akard Street
Dallas, Texas 75201

Re: Written Notice of Termination

Ladies and Gentlemen:

FPL Energy Pecos Wind II, LP (“FPL”) and Luminant Energy Company LLC (“Luminant’’) are
parties to that certain Renewable Energy Credits Purchase Agreement (the “Agreement”) dated
June 29, 2000, as amended.

FPL hereby provides notice to Luminant of FPL’s election to terminate the Agreement pursuant
to Section 6.01 of the Agreement based on the bankruptcy filing of Luminant on April 29, 2014,
in the Bankruptcy Court for the District of Delaware (Case No. 14-11023).

This notice is being sent in compliance with (i) Section 10.04(a)(iv) of the Agreement and

(i1) the Order Granting Motion of FPL Energy Pecos Wind I, LLP, FPL Energy Pecos Wind II,
LP, and NWP Indian Mesa Wind Farm, L.P. for a Determination that the Automatic Stay Does
Not Prevent Termination of Power Purchase Agreement, In re EFH Energy Future Holdings
Corp., et al., Case No. 14-10979 (Bankr. D. Del., , 2014), Docket No. [ ].

Sincerely,

ce:

{200.000-W0031590.}
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DRAFT

[NWP Indian Mesa Wind Farm, L.P. Letterhead]

Luminant Energy Company LLC
500 N. Akard Street
Dallas, Texas 75201

Re: Written Notice of Termination

Ladies and Gentlemen:

NWP Indian Mesa Wind Farm, L.P. (“NWP”) and Luminant Energy Company LLC
(“Luminant’) are parties to that certain Renewable Energy Purchase Agreement (the
“Agreement”) dated August 25, 2000, as amended.

NWP hereby provides notice to Luminant of NWP’s election to terminate the Agreement
pursuant to Section 6.01 of the Agreement based on the bankruptcy filing of Luminant on April
29, 2014, in the Bankruptcy Court for the District of Delaware (Case No. 14-11023).

This notice is being sent in compliance with (i) Section 10.05(a)(iv) of the Agreement and

(ii) the Order Granting Motion of FPL Energy Pecos Wind I, LLP, FPL Energy Pecos Wind IJ,
LP, and NWP Indian Mesa Wind Farm, L.P. for a Determination that the Automatic Stay Does
Not Prevent Termination of Power Purchase Agreement, Jn re EFH Energy Future Holdings
Corp., et al., Case No. 14-10979 (Bankr. D. Del., , 2014), Docket No. [ ].

Sincerely,

CC:

{200.000-W0031590.}
